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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                       Case No. 1:09-CR-290

v.                                                              Hon. Janet T. Neff

COREY LAWRENCE HALL,

               Defendant.
                                               /

                            REPORT AND RECOMMENDATION

               Pursuant to W.D. Mich. LCrR 11.1 and upon a request of the district court, I

conducted a felony plea hearing in this matter on September 17, 2010, after receiving the written

consent of the defendant, the defendant's attorney, and the attorney for the government. These

consents were also placed on the record in open court.

               Defendant Corey Lawrence Hall is charged in Counts 2 and 4 of a Fourth

Superseding Indictment with being a felon in possession of a firearm and possession with intent to

distribute cocaine, respectively. On the basis of the record made at the hearing, I found that

defendant was competent to enter pleas of guilty and that the pleas were knowledgeable and

voluntary with a full understanding of each of the rights waived by the defendant, that the defendant

fully understood the nature of the charges and the consequences of the pleas, and that the defendant's

pleas had a sufficient basis in fact which contained all of the elements of the offenses charged.

               I also inquired into the plea agreement. I found the plea agreement to have been

knowingly and voluntarily made and found that it fully reflected all of the promises made by the


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parties.

               Accordingly, I accepted the pleas of guilty, subject to final acceptance of the pleas

by the District Judge, and I specifically reserved acceptance of the plea agreement for the District

Judge. I ordered the preparation of a presentence investigation report.

                                        Recommendation

               Based upon the foregoing, I respectfully recommend that the defendant's pleas of

guilty to Counts 2 and 4 of the Fourth Superseding Indictment be accepted, that the court adjudicate

the defendant guilty of those charges, and that the written plea agreement be accepted at, or before,

the time of sentencing.



Dated: September 17, 2010                             /s/ Hugh W. Brenneman, Jr.
                                                      HUGH W. BRENNEMAN, JR.
                                                      United States Magistrate Judge




                                     NOTICE TO PARTIES

                You have the right to de novo review by the district judge of the foregoing findings.
Any application for review must be in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than fourteen (l4) days after the plea
hearing. See W.D. Mich. LCrR 11.1(b). A failure to file timely objections may result in the waiver
of any further right to seek appellate review of the plea-taking procedure. See Thomas v. Arn, 474
U.S. 140 (1985); Neuman v. Rivers, 125 F.3d 315, 322-23 (6th Cir.), cert. denied, 522 U.S. 1030
(1997); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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